 

' Case 2:17-cr-20183-|\/|AG-RSW- ECF |\|o. 47 ' filed 04/25/17 Page|D.lS€ Page 1 of 3 `

United States District Court 7
Eastern District of Michigan

Southern Division

The United States of America, - Criminal No. 17-20183

Plaiflfiff, y ` Hon. Mark A. GOidSmith
V.
D-4 Terry Pruitt a/k/a “T,” §§ g iL , § lm“\:
` §§
Defendant. f § 25 §1:1’1?

G'L §§1§§§§§§1§§ `
\v\/erxél.c* l M Dg@ W@ gm SOUW

Stipulation for Excludable Delav and to Set Dates

 

The United States ofAmerica and Defendant agree that there is good cause to
adjourn the detention hearing and completion of arraignment on the indictment in this
case scheduled for April ,6, 2017 to a new date of April 25, 2017_. See 18 U.S.C.
§3 161. This extension of time is necessary to allow the parties t investigate the facts

({¢LV~‘/£q¢:`»~ j"\(')‘*’\ <'>é 1 ~
of this case further and because!,\Defendant’ s pr v ~ f

  

prevented him from appearing in Court on an earlier date and, and because the failure
vto grant such a continuance would unreasonably deny the defendant continuity of
counsel and the reasonable time necessary for effective preparation, taking into
account the exercise of due diligence Defendant concurs in this request and agrees '
that it is in his best interest._

The parties stipulate and agree that this stipulation and any order resulting
therefrom shall not affect any previous order of pretrial detention or» pretrial release

The period of delay between April 6, 2017 to April 25, 2017 should be

excluded from computing the time within which a trial must begin for the reasons set

 

 

Case 2:17-‘cr-20183-|\/|AG-RSW ECF No. 47 filed 04/25/17 Page|D.lS? Page 2 of 3
forth herein, and because the ends of justice served by such continuance outweigh the

interests of the public and Defendant in a speedy trial. See 18 U.S.C. §3 161.

 

 

S/JEROME F., GORGONJR. ' S/ S. ALLENEARLY w/permission
Assistant United States Attorney LaW Offices of S. Allen Early
` 211 West Fort Street, Suite 2001 65 Cadi11ac Sq., Ste. 2810

Detroit, Michigan 48226 ' Detroit, M148226
jerome.gorgon@usdoj.gov ` sallenearly@sallenearly.comcastbiz.net

April 25, 2017

 

 

CaSe 2217-Cr-20183-|\/|AG-RSW ECF NO. 47 filed\O4/25/17 l PaQe|D.lSS Pag€ 3 013

United States District Court
Eastern District of Michigan
Southern Division

The United States of America, Criminal No. 17-20183

` Piaintiff, " Hon. Mari< A. Goidsmirh
V. `

D-4 Terry Pruitt'a/l</a “T,” ’

Defendant. b
' /

Order for Excludable Delav and to Set Dates
This matter coming,before the court on the stipulation of the parties, it is hereby
ORDERED that good cause exists to adjourn the detention hearing and the
completion of arraignment on the indictment scheduled for April 6, 2017 to April 25 ,
2017. See 18 U.S.C. § 3`16`1.
ORDERED that any order of pretrial detention or pretrial release remains in
full force and effect. 8

ORDERED that the period from April 6, 2017 to April 25, 2017-,` shall be

` excluded from computing the time Within Which a trial must begin for the reasons set

forth herein, and because the ends of justice served by such continuance outweigh the
interests of the public and Defendant in a speedy trial. See 18 U.S.C. § 3161.
IT IS S() ORDERED.
. R. sTEVEN WHALEN _
APR 2 5 z 917 _ m l United States l\/lagistrate Judge

 

 

Entered: ,

 

